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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
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     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     AUDREY RENEE BELL
 7
 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. 2:07-cr-047
                                     )
13                  Plaintiff,       )     STIPULATION AND ORDER CONTINUING
                                     )     CASE AND EXCLUDING TIME
14        v.                         )
                                     )     Date: January 23, 2008
15   AUDREY RENEE BELL,              )     Time: 9:30 a.m.
                                     )     Judge: Hon. Lawrence K. Karlton
16                  Defendants.      )
                                     )
17   _______________________________ )
18
19        IT IS HEREBY STIPULATED by and between Assistant United States
20   Attorney Matthew Stegman, counsel for Plaintiff, Assistant Federal
21   Defender Jeffrey L. Staniels, counsel for Audrey Bell, that the status
22   conference scheduled for January 23, 2008, be vacated and the matter
23   continued for further status conference on this Court’s criminal
24   calendar on February 12, 2008, at 9:30 a.m.
25        This continuance is sought be the defense to permit continued
26   investigation, review of documentary evidence, and other on-going
27   defense preparation.
28        IT IS FURTHER STIPULATED that time for trial under the Speedy
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 1   Trial Act continue to be excluded between January 23, 2008, and
 2   February 12, 2008, pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(ii) &
 3   (iv), Local Codes T-2 & T-4.
 4        IT IS SO STIPULATED.
 5
 6   Dated:    January 22, 2008                 /s/ Matthew Stegman
                                               MATTHEW STEGMAN
 7                                             Assistant U.S. Attorney
                                               Counsel for Plaintiff
 8
 9
     Dated:    January 22, 2008                 /S/ Jeffrey L. Staniels
10                                             JEFFREY L. STANIELS
                                               Assistant Federal Defender
11                                             Attorney for Defendant
                                               AUDREY RENEE BELL
12
13
14                                        O R D E R
15
          IT IS SO ORDERED.
16
                                   By the Court,
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     Dated: January 22, 2008
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     Stipulation and Order Continuing
     Case And Excluding Time                  -2-
